                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


MONTERRIOUS HARRIS                                    )
                                                      )
       Plaintiff,                                     )
                                                      )
v.                                                    )       Case No. 2:23-cv-02058-JTF-tmp
                                                      )
CITY OF MEMPHIS,                                      )
EMMITT MARTIN, III, DESMON MILLS, Jr.                 )
JUSTIN SMITH, DEMETRIUS HALEY,                        )
TADARRIUS BEAN, and JOHN DOES 1-4,                    )
                                                      )
       Defendants.                                    )


                             ORDER STAYING PROCEEDINGS


       The following motions to stay are before the Court: Defendant Justin Smith’s Motion to

Stay Civil Case Pending Resolution of Criminal Proceedings, filed on June 26, 2023 (ECF No.

39.); Defendant Tadarrius Bean’s Motion to Stay Proceedings, filed on July 5, 2023 (ECF No.

41.); Defendant Demetrius Haley’s Motion to Stay Civil Proceedings Until Criminal Proceedings

are Resolved, filed on July 7, 2023 (ECF No. 44.); and Defendant Emmitt Martin III’s Motion to

Stay All Civil Proceedings as to Defendant Martin, III Pending the Resolution of the Criminal

Proceedings, filed on July 7, 2023 (ECF No. 46.) On July 10, 2023, Plaintiff Monterrious Harris

and Defendant the City of Memphis, each filed responses in opposition to the Defendants’

Motions. (ECF Nos. 47 & 48.)

       The Court has considered the submissions of the parties, the applicable law, and the record.

In balancing the relevant factors for granting a stay, a stay of these proceedings is appropriate, in

the interest of justice and outweighs any prejudice that may be caused to Plaintiff. Accordingly,
Defendants’ Motions to Stay are GRANTED. This case is STAYED pending resolution of the

criminal proceedings against Defendants. The Defendants are ordered to confer and file with the

Court a Report and Status of the pending criminal proceedings on January 31, 2024, and every six

(6) months thereafter until the STAY is lifted.

       IT IS SO ORDERED this 28th day of August, 2023.


                                                           s/John T. Fowlkes, Jr.___
                                                           JOHN T. FOWLKES, JR.
                                                           United States District Judge
